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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
               v.                           :       CRIMINAL NO. 23-cr-239 (CKK)
                                            :
ILYA LICHTENSTEIN, et al.,                  :
                                            :
                      Defendants.           :

         GOVERNMENT’S NOTICE REGARDING STATEMENTS FROM
   SELF-IDENTIFIED PERSONS IMPACTED BY THE DEFENDANTS’ CONDUCT

       The United States of America, by and though the United States Attorney for the District of

Columbia, hereby provides notice to the Court of statements submitted by individuals who self-

identified as impacted by the defendants’ conduct in the above-captioned matter.

       Pursuant to the Court’s Order Authorizing Alternative Notification Procedures, ECF No.

145, the government established a website with case-specific information and a process for

members of the public to submit statements regarding how they may have been impacted by the

defendants’ conduct. Individuals were instructed to provide statements by email by November 12,

2024, and were advised that the information would be relayed to the Court. The government

received multiple submissions from individuals who claim to have been impacted by the

defendants’ conduct. 1 Those submissions are attached hereto as exhibits, with personal contact

details redacted.




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         As detailed in prior filings, see ECF No. 141, because the defendants’ offenses of
conviction are 18 U.S.C. § 1956(h) (Money Laundering Conspiracy) and 18 U.S.C. § 371
(Conspiracy to Defraud the United States), the government maintains that there are no individual
“victims” under the Crime Victims’ Rights Act (CVRA), 18 U.S.C. § 3771. However, the Court
may still elect to consider statements from those who do not meet the statutory definition of
“victim” in the CVRA.


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                               Respectfully submitted,
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